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 The following constitutes the ruling of the court and has the force and effect therein described.



  Signed March 30, 2018
                                              United States Bankruptcy Judge
    ______________________________________________________________________




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THENORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION


In Re:                                                                           Case No. 18-30380-HDH-13
ZULMA CONSUELO PINEDA
          Debtor



                       Order Dismissing Chapter 13 Case pursuant to General Order 2017-01

On representation of the Standing Chapter 13 Trustee as evidenced by the signature below, that the Debtor failed to timely
pay the Trustee the first payment specified in Debtor's plan within 30 days after the filing of the Petition;



 IT IS, THEREFORE, ORDERED that the above proceeding be and hereby is in all things DISMISSED without
prejudice, PROVIDED that if, within 14 days of entry hereof, a creditor in this case files a Motion to amend this order
and seeks a dismissal with prejudice, sanctions or other relief deemed appropriate by the Court, this Order may be
amended by the Court, after notice and a hearing, to grant the relief sought in said Motion in whole or in part .

 IT IS FURTHER ORDERED that all debts due and owing to creditors as of this date are NOT DISCHARGED or
affected in any manner by this Order.
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18-30380-HDH-13
ZULMA CONSUELO PINEDA




                                        ### End of Order ###



Approved: /s/ Thomas D. Powers
          {TrusteeName}, Chapter 13 Trustee
          Office of the Standing Chapter 13 Trustee
          105 Decker Ct
          Suite 1150 11th Floor
          Irving, TX 75062
          (214) 855-9200 / (214) 965-0754 (Fax)
